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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                            NORTHERN DIVISION

RALPH WOODS,                              )
                                          )
          Plaintiff,                      )
                                          )
v.                                        )          No. 2:22-CV-83 HEA
                                          )
CORTEX TRANSPORT, INC.,                   )
                                          )
          Defendant,                      )
                                          )

                   OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Plaintiff’s Motion for Leave to File

Amended Complaint and Add Jarvy Vidal as a Defendant, [Doc. No. 53].

Defendant opposes the motion. For the reasons set forth below, the motion will be

denied.

                                    Background

      Plaintiff brought this action to recover damages which allegedly resulted

from a vehicular collision wherein a tractor trailer driven by Jarvy Vidal, an

employee of Defendant, collided with Plaintiff’s vehicle. Plaintiff’s Complaint

originally named Vidal as a defendant, however, on July 10, 2023, Judge White

dismissed Vidal without prejudice for failure to effectuate service.

      Plaintiff now seeks to add Vidal back into this action as a defendant.

Previously, Plaintiff was unable to serve Vidal because it was believed Vidal no
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longer lived in the United States. He now believes Vidal is again living in the

United States. Defendant opposes the motion arguing Plaintiff is too late in seeking

to add Vidal.

                                       Discussion

      The Missouri's Saving's statute permits the commencement of a new action

within one year of dismissal of the prior action. Mo. Ann. Stat. § 516.230.

Plaintiff does not ask the Court to apply equitable tolling in this case and find that

the statute of limitations will not bar his claim. The Court declines to act sua

sponte. “Courts have generally reserved the remedy of equitable tolling for

circumstances which were truly beyond the control of the plaintiff.” Ousley v.

Rescare Homecare, No. 4:13-CV-00898-SPM, 2013 WL 5966050 (E.D. Mo. Nov.

8, 2013)(citing Hill v. John Chezik Imps., 869 F.2d 112, 1124 (8th Cir. 1989)).

Without any basis for considering equitable tolling, the Court concludes Plaintiff’s

time for refiling the action against Vidal is barred by Section 516.230. Plaintiff has

not argued that there was any impediment to him complying with the Missouri

statute of limitation and has not indicated that anything prevented him from filing

in Missouri within Missouri's statute of limitation. Therefore, equitable tolling will

not be applied in this case.

      Accordingly,




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      IT IS HEREBY ORDERED that Plaintiff’s Motion for Leave to File

Amended Complaint and Add Jarvy Vidal as a Defendant, [Doc. No. 53], is

DENIED.

      Dated this 2nd day of December, 2024.




                              ________________________________
                                 HENRY EDWARD AUTREY
                              UNITED STATES DISTRICT JUDGE




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